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               EXHIBIT B
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         Search

                                                                                                            DESCRIPTION

DDP LKD (Dawn's                                                                                             Dear Friend, You've been invited to thi

Living Kidney                                                                      r                        private/closed group because I have d
                                                                                                            my living kidney donation to you, or be
Donation)                                                                                                   regard you as someone who will be
                                                                                                            supportive. If I have misjudged your le
\m] Private group
                                                                                                            comfort or squeamishness, or if you s
                                                                                                            not wish to receive updates via this pi
About
                                                                         1                                  please feel free to decline the invitatio
                                                                                                            leave the group at any time. You can a
Discussion                                                                                                  contact me at dawndorland@gmail.co

Announcements
                                                                                                       7    Otherwise, welcome! Please post any
                                                                                                            questions or encouragement that you
Rooms                                                                                                       will share information here between n<
                                                                                                            my surgery date (UCLA, Summer 201£
Members                                                                                                     Outside of this group, please exercise
                                                                      .                                     discretion. For the privacy of my recip
Events                                                                                                      whom I do not know myself, I will mos
                                                                                                            not be making any public statements i
                                                                                                            UiW r\ o w /~J /'■»   ^ + i /''v   i i r-\ + i I of+/-» r + k* r\ oil ro r\ r\ ,
Photos

                         Joined R         ■ Notifications    ^ More
Group Insights

Moderate Group                                                                                              those experiencing renal failure to ask
                             Write Post      Q Create Room     [£] Photo/Video   B More                     and family to consider donating an ore
Group Quality                                                                                               (some studies show that as many as h
                                                                                                            people in need ask no one); and at be:

Search this group   s   ©         Write something...
                                                                                                            hope that my own gesture might enco
                                                                                                            other healthy individuals to consider t
                                                                                                            GROUP TYPE
Shortcuts                                                                                                   General
                         [   \ Photo/Video        Q| Create Room      fcj Watch Party
r>
                                                                                                            LOCATION

                    I   Announcements                                                                       Add locations for this group.

©                   I

                        ©        Dawn Dorland updated the description.                                                                                                                         GROUP CONVERSATIONS
                                                                                                            RECENT GROUP PHOTOS
                                 l0Admin • April 22, 2015
                                                                                                                                                                                               k -O   Create New Group
                        Dear Friend, You've been invited to this private/closed group because I
                        have disclosed my upcoming kidney donation to you, or because I regard
                        you as someone who will be supportive. If I have misjudged your level of
                        comfort or squeamishness, or if you simply do not wish to receive
                        updates via this platform, please feel free to decline the invitation, or to
                        leave the group at any time. You can always contact me at
                        dawndorland@gmail.com

                        Otherwise, welcome! Please post any questions or encouragement that
                        you have. I will share information here between now and my surgery date
                        (UCLA, Summer 2015). Outside of this group, please exercise discretion.
                        For the privacy of my recipient, whom I do not know myself, I will most
                        likely not be making any public statements about my kidney donation until
                        after the surgery. At that time, however, I will speak widely. Potential
                        public health benefits of my own living kidney donation could be, at least,
                        to encourage those experiencing renal failure to ask friends and family to
                        consider donating an organ (some studies show that as many as half of
                        people in need ask no one); and at best, I hope that my own gesture
                        might encourage other healthy individuals to consider this gift.




                                                                                                                                                                                                      DORLAND00134
